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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

                                                 :
Lloydena Charnisky,                              :
                                                 :
                                                 :
                       Plaintiff,                :
                                                   Civil Action No.: 1:18-cv-00331-SPB
       v.                                        :
                                                 :
GC Services, L.P.; EGS Financial, Inc.; and      :
                                                                                                    (
Convergent Outsourcing, Inc.,                    :
                                                                                                    D
                                                 :
                                                                                                    R
                       Defendants.               :
                                                                                                    H
                                                 :

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing withdrawal of Complaint and voluntary dismissal of

this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: March 8, 2019

                                                  Respectfully submitted,

                                                  PLAINTIFF, Lloydena Charnisky

                                                  /s/ Jody B. Burton

                                                  Jody B. Burton, Esq.
                                                  Bar No.: 71681
                                                  LEMBERG LAW, L.L.C.
                                                  43 Danbury Road, 3rd Floor
                                                  Wilton, CT 06897
                                                  Telephone: (203) 653-2250
                                                  Facsimile: (203) 653-3424
                                                  jburton@lemberglaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2019, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court Western District of Pennsylvania
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Jody B. Burton_________

                                                    Jody B. Burton
